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                                                                          FILED
                                                                           SEP 11        201~
                                                                        Cieri<, u.s, Oistrict Court 

                                                                           O..trict Of Montana 

                                                                                  Helena 




                IN THE UNITED STATES DISTRICT COURT 

                    FOR THE DISTRICT OF MONTANA 

                          BILLINGS DIVISION 


KIMBERLY LISTEK, PERSONAL                  )    Cause No.: CV-12-53-BLG-SEH
                                           )
REPRESENTATIVE OF 'mE                      )
ESTATE OF MICHAEL LISTEK,                  )
Deceased,                                  )
                                           )
                                           }   ORDER OF DISMISSAL WITH
              Plaintiff,                   )         PREJUDICE
      v,                                   )
                                           )
                                           )
O. PETE COUNCIL, M.D.,                     }
                                           )
              Defendants.                  )




      Pursuant to the Stipulation for Dismissal With Prejudice of the parties on

file, and for good cause;

      IT IS ORDERED that the above-entitled cause of action is hereby dismissed

with prejudice as having been fully settled on its merits, each side to bear their own

costs and attorney's fees.

      DATED this     L~ of September, 2014.
                                      ~iJfiUld'r\
                                       Judge of the U.S. District Court

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